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                                                      U.S. Department of Justice
                                                      Civil Division, Federal Program Branch
                                                      1100 L St. NW, Washington, DC 20005

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                                                      April 7, 2022

 By ECF

 The Honorable Ann M. Donnelly
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201


        Re: Haller, et al. v. Department of Health and Human Services, et al., No. 2:21-cv-07208

 Dear Judge Donnelly,

         Defendants respectfully inform the Court of their intention to file a motion under Rule 12
 in conjunction with Defendants’ opposition to Plaintiffs’ Motion for a Preliminary Injunction (ECF
 25). Defendants’ Motion to Dismiss will defend the constitutionality of the No Surprises Act, and
 the arguments presented in the motion will overlap substantially with the legal issues discussed in
 the briefing on the Preliminary Injunction motion. Defendants request that, in order to
 accommodate the consideration of a motion to dismiss together with the preliminary injunction
 motion, the Court excuse the pre-motion conference requirement set forth in this Court’s individual
 practice rules. Defendants have conferred with Plaintiffs’ counsel, and Plaintiffs’ counsel do not
 consent to waiving the pre-motion conference.

         Additionally, Defendants request that this Court issue a revised scheduling order permitting
 Defendants to file a reply brief in support of their Motion to Dismiss, not to exceed 10 pages, in
 advance of this Court’s hearing on the two motions. Defendants also understand that one or more
 parties may seek to participate in this action as amici curiae, and request an adjustment of the
 briefing schedule that would accommodate these filings and also afford Plaintiffs the opportunity
 to respond to the amici. Defendants also respectfully request that the Court reschedule the hearing
 that is currently set for May 3, 2022 so that briefing on the two motions could be completed in
 advance of the hearing. A short delay in the hearing would not prejudice Plaintiffs, given that they
 challenge the constitutionality of provisions of the No Surprises Act that have been in effect since
 January 1, 2022.
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         In light of the complex constitutional, statutory, and regulatory issues in this case, and their
 national importance, Defendants also request an enlargement of the page limits for briefing in this
 case. Defendants propose that they be afforded an additional 15 pages (amounting to 40 pages
 total) for their combined Memorandum in Opposition to Plaintiffs’ Motion for a Preliminary
 Injunction and in Support of Defendants’ Motion to Dismiss, and that Plaintiffs be afforded the
 same number of pages for their combined Opposition to Defendants’ Motion to Dismiss and Reply
 in Support of Plaintiffs’ Motion for a Preliminary Injunction.

          A summary of Defendants’ proposed briefing schedule and page limitations is set forth
 below:

                                     Deadline                          Page Limit
  Defendants’ Memorandum in          April 19, 2022                    40 pages
  Opposition to Plaintiffs’
  Motion for a Preliminary
  Injunction and in Support of
  Defendants’ Motion to
  Dismiss
  Briefs of amici curiae             April 26, 2022
  Plaintiffs’ Memorandum in          May 3, 2022                       40 pages
  Opposition to Defendants’
  Motion to Dismiss and Reply
  in Support of Plaintiffs’
  Motion for a Preliminary
  Injunction
  Defendants’ Reply in Support       May 10, 2022                      10 pages
  of Defendants’ Motion to
  Dismiss
  Hearing                            At the Court’s convenience


         In the event that the Court is inclined to hold a pre-motion conference, Defendants
 respectfully request that the Court defer the briefing schedule with respect to the preliminary
 injunction motion, so as to avoid duplicative briefing on the two motions.

          We thank the Court for its attention to this matter.

                                                        Sincerely,
                                                        /s/
                                                        Anna L. Deffebach




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